                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION
                                CASE NUMBER 1:20CV66

JANE ROE,                                              )
                                                       )
       Plaintiff,                                      )
                                                       )
v.                                                     )
                                                       )
UNITED STATES OF AMERICA, et al.,                      )
                                                       )
       Defendants.                                     )

                          DECLARATION OF JOHN PARKE DAVIS

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the following is true and correct:

        1.     I am J. P. Davis, First Assistant for the Federal Defender’s office for the Western
District of North Carolina (FDO-WDNC). I am a 2005 graduate of Duke University School of
Law. Prior to the creation of the Federal Public Defender’s Office, I served as the Interim
Executive Director and First Assistant for the Federal Defenders of North Carolina, Inc.; as a
partner at James, McElroy & Diehl, P.A.; and as a federal law clerk to the Hon. Graham C. Mullen
in the Western District of North Carolina.

       2.     As First Assistant, my duties include consulting with and advising the Federal
Defender on policy matters; directly supervising attorney and non-attorney staff; performing duties
as delegated by the Federal Defender; and carrying a caseload of my own cases. Though I am
frequently consulted regarding staffing matters, I do not have any authority to hire or fire, to
promote or demote, or reassign positions.

        3.     I am familiar with Plaintiff and her time at FDO-WDNC. I was part of the
management team that originally interviewed Plaintiff, I designed a training program for Plaintiff
prior to her start of work, and I took primary responsibility for administering that program,
including serving as Plaintiff’s first office mentor. I directly supervised Plaintiff for approximately
three to four months after her arrival in the office, and indirectly supervised Plaintiff until removed
from her chain of command pending an investigation of her allegations against me in late July/early
August 2018.

       4.      I had a positive working relationship with Plaintiff from her hiring until
approximately May 18, 2018. On that day, as discussed in more detail below, Plaintiff informed
me that she planned to threaten to quit in order to induce the office to transfer her duty station or

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to “at least” give her a substantial raise. To further that plan, Plaintiff wished to be assigned as
counsel of record on a difficult trial that she had insufficient experience to handle, in the apparent
belief that this trial experience would increase the perception of her value and therefore the
effectiveness of her threat. After I explained the issues with this plan—and specifically the
potential liability to the office of staffing inexperienced attorneys on a difficult trial—Plaintiff
engaged in several acts in pursuit of that plan that I considered to be willfully deceptive.

        5.      In one such episode, Plaintiff lied to me in order to avoid a previously scheduled
client obligation, then flatly refused to comply with my directive that she attend it, requiring me
to raise the potential for disciplinary action. Plaintiff’s concerns with me have always expressly
related back to this incident.

       6.      In May 2019, Defender Martinez informed me that he had reviewed the findings
from the investigation and determined that Plaintiff’s allegations of sexual harassment,
discrimination and retaliation had been unsubstantiated.

                     PLAINTIFF’S CLAIMS REGARDING FDO-WDNC

        7.      FDO-WDNC is a proudly diverse office, as was the previous non-profit
Community Defender Organization that existed prior to its organization. In Fiscal Year 2018,
during Plaintiff’s employment, approximately 65% of FDO-WDNC’s staff was female, and
approximately 42% of responding staff were people of color. These numbers are similar when
limited solely to legal professionals. While federal offices have not historically tracked LGBTQ+
staff members, FDO-WDNC has had LGBTQ+ attorneys on staff from its inception. In my
experience both at FDO-WDNC and at its private non-profit predecessor, both management and
staff have always treated the office’s diversity as the strength that it is, and have endeavored to
maintain it.

        8.     I have never seen nor heard Defender Martinez nor anyone else in the organization
speak about women using crude or derogatory language, belittle them, or otherwise treat any
employee differently based on their sex. I have not seen nor heard Team Leader Peter Adolf—or
anyone else—refer to Black or other clients as “dogs” or use similar terms. While I have heard
staff members struggle with understanding that the term “retarded” is no longer culturally
appropriate, I have never heard anyone mock clients with disabilities or otherwise belittle
disability. I have never experienced any homophobic commentary or attitude from any FDO-
WDNC employees, whether in management or otherwise.

        9.       I am familiar with the background of many, though not all, of the specific examples
Plaintiff cites to in support of her claim of a toxic work environment. The examples I am familiar
with have all been falsely constructed and presented in a misleading way to create a false
impression. Three examples are listed below, but similar issues exist for Plaintiff’s other claims:

               a.      Plaintiff’s reference to a homophobic slur references an incident I am aware
                       of where a homophobic slur was allegedly used against an FDO-WDNC

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                      staff member by an employee of a different federal agency. Upon being
                      informed of this incident, Defender Martinez responded strongly, eliciting
                      an apology and remedial action from the acting head of that agency.

               b.     Similarly, I am familiar with two of the three supposed “homophobic
                      rumors” Plaintiff cites, and both of these were claims made by a criminal
                      defendant who was the former client of a terminated employee. To my
                      knowledge, they were only ever raised in context of the need to address the
                      client’s inappropriate behavior, and they were always treated as false and
                      offensive.

               c.     Likewise, Plaintiff’s claim that employees “joked about a [B]lack federal
                      prosecutor rapping to a jury” is a distortion of a real discussion about a
                      specific prosecutor actually quoting lyrics from a hip-hop song during a
                      closing argument. I was present during this meeting, and the discussion
                      centered on the fact that the quotation was bizarre in that it had no relation
                      to the case and was out of context. At no point did anyone ever raise the
                      concept that the prosecutor himself was “rapping,” nor did they employ any
                      racial stereotypes.

        10.     I have never “gloated” about inadequacies of the sexual harassment review process
in the federal judiciary. Plaintiff and I did discuss the #MeToo movement and its implications for
the judiciary at one point, but our views at that time were generally in accord.

                          PLAINTIFF’S TENURE AT FDO-WDNC
        11.     I first met Plaintiff on March 13, 2017, when she interviewed for an attorney
position in the FDO-WDNC. This resulted in her being offered a Research and Writing Specialist
(“R&W”) position, with the anticipation that she would transition into an Assistant Federal
Defender (“AFD”) position once she obtained sufficient experience. At that time, I understood
this transition would take several years, which I consider to be quite rapid.

        12.     During the interview, Plaintiff expressed a desire to work in our Asheville office,
as her then-boyfriend lived near       North Carolina. She was told the position was for Charlotte
only. Plaintiff stated she would not have a problem working from Charlotte and would be willing
to take the position regardless.

        13.     Plaintiff’s hiring was unusual, because while she had completed several years of
clerkships and a prestigious fellowship, she had never actually practiced law. Due to the high-
level nature of the work involved, the FDO-WDNC, like most Federal Defender offices, typically
only hires attorneys with substantial practice experience for long-term positions.

       14.     Because our office had never previously hired an attorney with so little experience,
I designed a training program for Plaintiff prior to her arrival. This program was adapted from

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materials from another Defender office that more regularly hires inexperienced attorneys, and was
principally embodied in a checklist of various hearings and experiences that Plaintiff needed to be
a part of and familiar with prior to becoming an AFD.

        15.      On August 21, 2017, Plaintiff began working in the FDO-WDNC. As the Charlotte
office’s only first-level attorney supervisor at that time, I took primary responsibility for Plaintiff’s
training. This ultimately transitioned into a mentorship after Defender Martinez reorganized the
office into trial teams. Under the trial team structure, I acted less as Plaintiff’s direct supervisor
and more as a mentor/resource for her.

         16.    In December 2017, as part of the transition from supervisor to mentor, I arranged
to have semi-regular lunch meetings with Plaintiff outside of the office. As I explained to Plaintiff
at the time, this was a practice my own mentor employed with me when I was a new lawyer, and
I considered it to have been highly effective. Plaintiff and I had four of these mentoring lunches,
roughly once every six weeks.

         17.    During the period of August 21, 2017 until mid-May, 2018, Plaintiff appeared to
be enjoying her work, her training was progressing on schedule, and all seemed well. During this
time, I developed what I believed to be a positive working relationship with Plaintiff. For example,
Plaintiff, who lived within a mile of my house and generally biked to work, would occasionally
solicit me for rides home, including, on at least two occasions, after work-related social events
where she had been drinking.

       18.      Some emails and text exchanges reflecting the positive working relationship
include:

                a.      On April 6, 2018, in response to my covering a bond hearing for her,
                        Plaintiff sent me an email stating “Jp, you are an angel.” Government
                        Exhibit (GE) B-1, Email Chain w/ Plaintiff dated 4/06/18.

                b.      On April 27, 2018, Plaintiff texted me while on Annual Leave to share
                        personal anecdotes about running into two federal judges and introducing
                        them to her mother. GE B-2 Texts from Plaintiff to JPD, April 27, 2018 at
                        11:52 AM.

                c.      On April 30, 2018, Plaintiff texted her wedding photos to Defender
                        Martinez and myself. GE B-3, Texts from Plaintiff to JPD and AM, April
                        30, 2018 at 2:51 PM.

        19.      Plaintiff and her current husband got engaged at some point after she began working
for the office, and were married in late April of 2018.

       20.     On May 18, 2018, I had a mentoring lunch with Plaintiff for the fourth and final
time. Several significant events occurred during this lunch:

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     a.    During lunch, Plaintiff told me she really wanted to be on a trial “this
           summer.” She was specifically fixated on second-chairing an upcoming
           trial in a particularly difficult case carrying a potential Life sentence (the
           “Life trial”), which was already staffed with one of the office’s most junior
           trial attorneys. I advised Plaintiff to focus on more suitable trial
           opportunities, but Plaintiff remained fixated on this case in particular
           because, according to her, she felt certain it would actually be tried in the
           summer, whereas other trials would likely be moved to the fall.

     b.    At the end of this discussion, I explained to Plaintiff that she should not be
           on the Life trial because putting our two least experienced attorneys as the
           trial team on such a serious case would be something the office could not
           defend on a future claim for ineffective assistance of counsel. By this, I
           meant that placing inexperienced attorneys on such a serious case would not
           only be abdicating the office’s mission to provide effective assistance to the
           specific client involved, but would also damage the integrity and credibility
           of the office in the eyes of the Court, thereby jeopardizing our mission to
           effectively represent future clients. Plaintiff acknowledged the validity of
           this issue, but stated she would still “run it by Tony [Martinez]” and get his
           thoughts.

     c.    After lunch, on the drive back to office, Plaintiff raised that she was not
           happy living in a separate city from her husband. When I asked if she and
           her husband had discussed how they would address this, Plaintiff stated “If
           I don’t get moved to Asheville, I’m going to have to quit.” I told Plaintiff I
           was sorry to hear that, because there were no spaces available in the
           Asheville office. Plaintiff then stated she would be open to “alternative
           arrangements” to moving to Asheville, and specifically raised the idea that
           she could telework from          doing only appeals.

     d.    Plaintiff told me more than once during this conversation that she hadn’t
           meant to raise the issue with me at this time, but had been planning to make
           the demand to move to Asheville or quit at her annual review in August.
           She said that was why she had “been working [her] butt off this year,” then
           added “Why do you think I wanted a trial this summer so badly?”

     e.    I reiterated that there were no open positions in Asheville, and that I could
           not guarantee when one would become open. Plaintiff then stated that if
           she couldn’t be guaranteed a move to Asheville, she at least wanted more
           money. Specifically, she demanded to be moved up to an AFD position, or
           to a Grade 15 on the government grade/step pay scale. Plaintiff claimed to
           have a signed original offer letter from FDO-WDNC stating that the
           anticipated transition to an AFD position would occur “within a few
           months,” which I believed to be inaccurate. According to Plaintiff, she had

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                       discussed with her husband how she would “wave [the offer letter] around”
                       if the office didn’t agree to promote her.

               f.      Both at the beginning and end of the lunch, I told Plaintiff that I expected
                       this would likely be the last regular mentoring lunch she would need other
                       than one close to her annual review/ anniversary in August. Plaintiff said
                       something to the effect that it didn’t have to be the last time, and she was
                       always up for me buying her lunch or for cutting out early for a drink
                       (something we had done earlier in the week at Plaintiff’s request to celebrate
                       the occasion of her first in-court witness examination).

        21.      I was surprised and taken aback by Plaintiff’s demands. Nevertheless, because I
thought highly of her performance and considered her a valuable employee who I did not want to
leave the FDO-WDNC, I reviewed salary tables to see if we could meet her request for a raise (a
duty station transfer being unavailable). I determined that she did not meet the technical
requirements for increase to the G15 level she had requested, but that a transition to AFD position
could, at least theoretically, be combined with certain performance-based pay increases to get her
to the same general salary range. This alternative method was in line with what I had already
tentatively been considering recommending to Defender Martinez independently.

        22.      Based on this, I e-mailed Plaintiff that she was “shooting high” with her demand to
be boosted to a G15, but told her I had “a plan.” I did not enunciate this further because doing so
would have been premature, given that several months still remained in her annual review period.
Because our earlier conversation had ended on a friendly tone, I ended my email with a pun, “pay-
for-stay,” as a joking reference to Plaintiff’s own demand for an increase in pay in order to stay an
employee of the FDO-WDNC in the absence of a duty-station transfer. It is still unclear to me
how the word “stay” could be interpreted in a sexual manner. I never intended that phrase nor
anything else about this email to have any kind of sexual, romantic, or otherwise inappropriate
meaning or connotation.

        23.     I was out of the office the following week, but learned from a colleague that
Plaintiff had approached Defender Martinez in my absence and convinced him to add her to the
Life trial. After my return, I learned that she did so without raising the issues we had discussed.
This greatly disturbed me, as the office’s mission to provide effective representation to both current
and future clients is why it exists, and the prime motivating principle for all FDO-WDNC staff.
Plaintiff gave me no reason to believe that she disagreed with my assessment of the risks, but even
if she had, candor required her to raise those potential issues to Defender Martinez so that he could
make a fully informed decision as the Defender. The fact that she did not indicated a lack of
candor and concerned me that Plaintiff was pursuing her own agenda at the expense of the
organization, its mission, and, most importantly, our clients.

        24.    I returned to the office on May 29th, 2018. On that day, Plaintiff’s demeanor
toward me initially seemed unchanged, even inviting me to take a walk with her outside when we
ran into each other on the street on my way back from court. Though this walk was ostensibly to

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catch up on a different case we were working together, Plaintiff spent most of 45 minutes
expressing frustrations with how the other attorney on the Life trial was handling it and seeking
my advice about how to deal with those issues. Her attitude toward me seemed to change at the
end of this conversation, however, after I again counseled her against pursuing her course of action
on the Life trial. From that point on, Plaintiff stopped engaging with me as a mentor, began
devoting her near-exclusive attention to the Life trial against my advice, and appeared completely
uninterested in other clients.

         25.    These issues came to a head on June 5, 2018, when Plaintiff sent me an email
containing false statements about the need to cancel a pre-existing client obligation in order to
work on the Life trial. I later learned that Plaintiff had falsely blamed the conflict on others when
in fact she alone had created it for her personal convenience.

        26.     At this point, I determined that corrective action was needed. After discussing my
concerns with Defender Martinez, I met with Plaintiff, directed her to attend the client obligation
per her prior commitment, and explained to her the rationale for my actions.

       27.      Plaintiff stated she understood and would comply, but later that day sent me an
email refusing to do so. I responded to Plaintiff that this was wrong way to handle the situation
and directed her to attend the client obligation as planned.

        28.    The following morning, June 7, 2018, Plaintiff appeared as directed for the client
obligation, and I had a meeting with her en route to that obligation. Upon returning to the office,
I documented this conversation contemporaneously in an email to Defender Martinez. I have
reviewed this email, which is incorporated herein by reference, and it is a true and accurate account
of my conversation with Plaintiff that morning. GE B-4, Email from JPD to Defender Martinez
dated 6/7/18.

       29.    Not long after my confrontation with Plaintiff memorialized above, Defender
Martinez removed Plaintiff as counsel from the Life trial. While I agreed with this action, it was
not done at my initiation.

        30.    Over the course of the next few weeks, my relationship with Plaintiff remained
tense, but appeared to be settling back toward friendly. Then, on June 21, 2018, Plaintiff failed to
show up for a meeting regarding a legal issue on a mutual case that was scheduled for sentencing
days later. This resulted in the following chain of events:

               a.      Late in the afternoon of June 21, Plaintiff contacted me to apologize, and
                       asked if I still needed research assistance. I stated that I did and listed topics.
                       I did not ask to meet with Plaintiff. Plaintiff, however, asked if I would be
                       in the office at 5:00 PM.

               b.      I told her I would be, and she came to my office at 5:00 PM to meet with
                       me. This meeting lasted for approximately an hour and a half, addressed
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                       topics in our mutual case and unrelated legal topics that she wanted my
                       opinion on. Overall, this conversation was friendly and light-natured.

               c.      At the end of the meeting, a thunderstorm was blowing in. As we had done
                       in the past, I offered to give Plaintiff, who had biked to work, a ride home.
                       Plaintiff stated she did not think it would rain. She stated she would be okay
                       if it did, though, because, in her words, she was “tough.”

               d.      We parted, and several minutes later, as I was preparing to leave, it began
                       to rain heavily. Plaintiff was in an interior office at the time and would not
                       have seen this, so I texted her “it is currently raining. Last chance for a ride
                       tough girl…”

               e.      Shortly thereafter, I left the office and headed down to the lobby. Plaintiff
                       had not responded to my text and it was still raining heavily, so I waited a
                       moment before leaving to give her a chance to see the text and take me up
                       on the offer. At that moment, Plaintiff came down the elevator. I asked if
                       she was sure she didn’t want a ride, and she said she was. We then both
                       left, using exits on opposite sides of the lobby from each other.

               f.      During the time we were in the lobby, I was never closer than roughly ten
                       yards away from her, in the opposite direction from her path to the exit, and
                       I never moved toward her in any way. Additionally, a kick-boxing class
                       with numerous participants was being conducted within 20 to 30 feet of
                       where I was standing, with floor-to-ceiling glass windows separating the
                       class from the lobby hall.

       31.     Several days later, as part of redistributing caseload following another attorney’s
termination, Plaintiff was assigned to handle several routine supervised release violation matters
and two to three uncontested sentencings in illegal reentry cases. These matters should have been
well within Plaintiff’s ability to handle. In response, however, Plaintiff emailed Defender
Martinez directly to complain. See GE B-5, Email Chain w/ Defender Martinez dated 6/24/18.

        32.     As shown in the email chain, Defender Martinez was frustrated by Plaintiff’s
reaction, which he viewed as an effort by Plaintiff to “pick and choose” the cases she wanted to
work on. Defender Martinez therefore initially planned to confront Plaintiff about her poor
attitude. I agreed with Defender Martinez’s interpretation, but had begun to think that Plaintiff’s
recent issues might be caused by inexperience in dealing with the high stress levels associated with
our profession. I therefore proposed to meet with Plaintiff directly instead, in order to help her
develop better stress coping skills and to try and create more structure for her. In the email chain,
I referenced my belief that my mentoring relationship with Plaintiff had broken down, but noted
that I wanted to attempt this course of action in part out of a feeling of obligation to that
relationship, as it had never formally ended. Defender Martinez independently decided not to
confront Plaintiff directly, but requested that I go forward with this “Coping Skills Meeting.”
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         33.    On July 2, 2018, I met with Plaintiff to attempt to have the Coping Skills meeting.
I created an outline for the meeting, which I had with me at the time and attempted to follow. See
GE B-6, Outline for Coping Skills Meeting. I did not get far into it, however, when Plaintiff
redirected the meeting to be about her continued belief that I had spoken too harshly toward her
earlier in the month in regards to the client obligation. I documented the events of this meeting
contemporaneously in an email that I sent to myself, per my standard practice. I have reviewed
this email, which is incorporated herein by reference, and it is a true and accurate account of my
conversation with Plaintiff that morning. GE B-7, Email to Self dated 7/2/18.

        34.   On July 5, 2018, Defender Martinez set up a meeting prompted by the breakdown
of the Coping Skills Meeting. The purpose of the meeting was to resolve issues between Plaintiff
and me.

               a.     Plaintiff almost immediately asked for me to leave the meeting, which I did.

               b.     After roughly an hour, I was brought back in. As with the Coping Skills
                      Meeting, Plaintiff’s focus was entirely on my ordering her to attend the
                      client obligation in early June. She did not raise any other issues while I
                      was present.

               c.     During the course of this meeting, I formally resigned as Plaintiff’s mentor
                      and suggested she use another AFD as a mentor instead. This was
                      something I had already planned to do but had not reached during the
                      Coping Skills Meeting.

        35.    Following the July 5 meeting, I had very little contact with Plaintiff. Our
interactions were limited to a small number of case-related emails in early July, three or four
extremely brief encounters in passing which involved no substantive communication, and the
interactions outlined in the next two paragraphs.

        36.    On July 20, 2018, the FDO-WDNC Management Team met to discuss various
issues, principal among them how to fill vacant positions and how to reorganize the office to
provide research and writing support to all trial teams in light of the fact that one of the three
existing R&Ws, who was assigned to cover my trial team, was leaving the office to enter private
practice.

               a.     As a result of this meeting, the Management Team determined to hire a new
                      attorney to cover research and writing duties, with a larger focus on
                      appellate work than our current R&Ws (the “Appellate AFD position”). To
                      cover the short term, the Management Team decided that Plaintiff would be
                      assigned to cover my trial team in addition to her own. This decision was
                      made because the only other remaining R&W was already effectively
                      covering two trial teams. I did not request it.

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               b.      In order to give Plaintiff more capacity for the increased work-load of
                       covering a second trial team, the Management Team determined that she
                       should be taken out of duty rotation and not be assigned as counsel of record
                       on any additional trial cases for the time being. Based on Plaintiff’s
                       previous poor reaction to receiving new case assignments, the Management
                       Team anticipated that she would welcome this development.


        37.     In light of our earlier conflict, I determined to meet with Plaintiff in order to
mutually design a workflow that would facilitate a productive working environment for her and
my team members. I drafted a conversation outline for this meeting and emailed Plaintiff on July
22, 2018, asking to meet with her the next day to discuss it. She did not respond. This was the
last substantive interaction I had with Plaintiff.

      38.     On July 24, 2018, I learned for the first time that Plaintiff had alleged that she felt
“uncomfortable” with me, though I understood at the time that Plaintiff had explicitly denied
making any claim of sexual harassment.

        39.    I was not involved in any employment decisions related to Plaintiff after July 24,
2018.

        40.     On August 7, 2018, Assistant to the Defender Holly Dixon emailed me and others
regarding interview questions for Appellate AFD position interviews. That same day,
Administrative Officer Bill Moormann mentioned to me in passing that Plaintiff had applied for
the position. Upon learning this, I communicated to Defender Martinez, Bill Moormann and Holly
Dixon that I wanted to recuse myself entirely from the hiring process. Because of my self-initiated
recusal, I took no part in any further consideration related to the Appellate AFD position. I was
not on the “hiring committee” and I provided no input regarding the hiring decision.

       41.     Other than general discussions in late July about the utility of phasing out the
Research & Writing Specialist position as a matter of office policy, I was not consulted and had
no role of any kind in the reclassification of Plaintiff’s position into an AFD position. I had no
involvement in any adjustments to her pay, and to this day I have no knowledge or understanding
of what adjustments were or were not made and why.

        42.    I had no contact with Plaintiff after she began teleworking in mid-August, 2018. I
did not give her assignments, review her work, talk with her, or see her in person after that point.




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                         PLAINTIFF’S SPECIFIC ALLEGATIONS

       43.     I did not learn what Plaintiff’s specific allegations actually were until February,
2019, when Plaintiff filed her Mediation Supplement. At that point, Defender Martinez shared
with me select portions of Plaintiff’s Mediation Supplement for the limited purpose of providing
him factual information necessary for him to properly understand and respond to Plaintiff’s claims.

       44.     Plaintiff’s claims that I solicited her repeatedly during the month of June, 2018, to
meet with me outside of the office and/or after hours are false. The documents Plaintiff cites as
support speak for themselves, and do not support her allegation. Indeed, based on a review of all
of our text and email correspondence during the relevant time period, Plaintiff initiated or
requested more meetings outside of the office or after hours than I did.

        45.     Plaintiff’s claim that I would “often appear” at the end of the work day and walk
her out of the building is verifiably false.

               a.      The FDO-WDNC utilizes a virtual In/Out Board, and employees are
                       required to sign out when leaving the office at the end of the day. This
                       system is used to help employees find each other during the workday and is
                       not used to monitor or track employees. It does, however, keep records as
                       a matter of inherent functionality.

               b.      In February, 2019, upon learning of this allegation, I pulled Plaintiff’s
                       records and my own records from In/Out Board for the relevant time period,
                       specifically May through July, 2020. See GE B-8, Time History Report for
                       JP Davis (5/18/18 – 8/10/18); GE B-9, Time History Report for Plaintiff
                       (5/18/18 – 8/10/18). Comparing these records shows every time that
                       Plaintiff and I signed out at or near the same time during this time period.

               c.      Review of the In/Out Board records shows that I signed out at the same time
                       as Plaintiff on only two occasions during the relevant time period: June 1,
                       2018, and June 18, 2018. The latter of these is a date when Plaintiff and I
                       both stayed late at the office working on the same Sentencing
                       Memorandum, and therefore it made sense that we would leave at the same
                       time. I do not recall the events of June 1, 2018, but it may have been a
                       coincidence.

               d.      The In/Out Board records reflect one other occasion where I signed out
                       within 5 minutes of Plaintiff, on June 5, 2018. I have no recollection of this
                       date and do not recall whether Plaintiff and I saw each other at that time or
                       not.

               e.      Finally, there are three other occasions where one or the other of us did not
                       sign out and was logged out automatically by the system. One of these was

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                       June 21, 2018, the date of the ride offer. For each of the other two, I was
                       able to locate email correspondence between us indicating one of us was
                       still in the office after the other one had already left, i.e. that we did not
                       leave the office at the same time.

        46.     The hearsay claim that after Plaintiff’s harassment claim, I was seen “lurking
around the county jail … for long periods of time” can be rebutted using a similar methodology.
In/Out Board records also reflect when an employee logs out to the county jail and when they
return to the office. In preparing this declaration, I ran a report for myself for the time period when
this complaint supposedly took place—approximately August 1 through November 30, 2018. See
GE B-10, Jail Time History Report for JP Davis (8/1/18 – 11/30/18). Then, to establish a
meaningful comparison, I pulled the same report for myself for the preceding three months, from
April through July, 2018. See GE B-11, Jail Time History Report for JP Davis (4/1/18 – 8/1/18).
These reports reflect a moderate decrease in my jail visitation following Planitiff’s allegations.
The average time of each visit appears unchanged.

       47.     Plaintiff is also verifiably wrong in her accusations about my involvement in
appeals.

               a.      Though I am primarily a trial attorney, I have routinely participated in moot
                       oral arguments, by specific request of the appellate team, since I began
                       working at the FDO-WDNC’s predecessor entity in 2012. I did so
                       throughout 2017 and 2018 as usual, including participating with Plaintiff on
                       moot arguments long before Plaintiff raised any concerns about me. See,
                       e.g., GE B-12, Email from J. Carpenter dated 3/2/18.

               b.      I did not volunteer to moot the same case twice, whether to harass Plaintiff
                       or otherwise. This was an error that was changed after I questioned it. See
                       GE B-13, Email Chain w/ A. Hester dated 11/7/18 (responding to list of
                       proposed times with “I can do any of those”); GE B-14, Email Chain w/ A.
                       Hester dated 11/26/18 (responding to being listed twice with “Did you want
                       me on both? I can be, just not sure if that was intentional.”)

               c.      Plaintiff’s claim that my job “was a trial lawyer only, with no job duties
                       pertaining to appeals,” is incorrect. As First Assistant, except for the August
                       2018 to March 2019 period when the Appellate Chief reported directly to
                       the Defender in order to fully remove Plaintiff from my chain of command,
                       I have and have always had supervisory authority over the appellate unit
                       within the office. In that role, I have routinely been involved in appellate
                       matters.

               d.      I determined to handle an appeal of one of my own trial cases in 2017, based
                       on a suppression hearing that occurred several weeks before Plaintiff started
                       at the FDO-WDNC. While this case only became ripe for appeal shortly
                                                  12

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                       before Plaintiff’s complaints about me, it was still before Plaintiff’s
                       complaints about me. GE B-15, United States v. Brinkley, App. Case 18-
                       4455 [Doc. 6] (Appearance of Counsel form filed July 2, 2018).

        48.    I have never recruited any employee of FDO-WDNC—or anyone else, for that
matter—to “eavesdrop” on Plaintiff, to “monitor” her “and report back” to me, to “spy” on her, or
to otherwise conduct any other form of surveillance on her.

        49.     Plaintiff references an email I wrote dated August 31, 2018, replying to a client’s
email to me. I sent this in order to respond to the client, and Plaintiff was only copied because the
client had copied her on his original email (along with several other staff members) and I used the
“reply all” function as a matter of regular practice. The email speaks for itself, but it was not sent
or worded for the purpose of harassing Plaintiff, and neither the client nor any of the other staff
members copied on it ever expressed any confusion about its wording, meaning, or intent.

        50.     I have reviewed Plaintiff’s complaint, her Mediation Supplement, and other
documents that she filed as attachments to her Motion for Partial Summary Judgement. Plaintiff
has made numerous allegations in these documents, some of which are internally inconsistent. To
the extent they are within my personal knowledge, the vast majority of these are misleading,
incomplete, inaccurate, or just flat false. This declaration attempts to address many of these
allegations, but is not by any means comprehensive. My failure to address any specific allegation
should not be interpreted as an admission that the allegation is true as written, because it likely is
not.

        51.     I never intended any of my actions toward Plaintiff to be discriminatory or
harassing in any manner, sexual or otherwise. I never intended to retaliate against Plaintiff, nor
did I take any actions against Plaintiff for the purpose of retaliation.


       Executed this 30th Day of September, 2020.


       ______________________________________
       John Parke Davis




                                                 13

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not she had asked for your thoughts and advice on how they could be addressed .

She claimed not to recall , and even said she thought maybe she had talked to you before I had told her
those things. I told her that it had not , and that I had talked to you and knew she had not told you those
things. She again claimed not to recall .

I told her that I understood why she wanted the trial , which was so she could show how important she
was so that she could use that as leverage to force us to move her to Asheville . She cursed under her
breath, but did not deny it.

I told her that was putting her own self interest ahead of the organization and the client. I said, perhaps
rashly, that the irony was that if she had just come to me and said "JP, I really want to be in Asheville in a
few years, how do you think we can make that happen," I probably would have sat down with her and
helped her come up with a plan. She said nothing.

I stated that regardless of her motivation , she handled the situation with the PSI and the discovery
review poorly. I believe I made clear that the reason I ordered her to go to the PSI was because of that ,
not because of my belief that she is acting out of self -interest.

I again repeated that the right way to resolve this was to sit down with me, be open and honest, and work
to repair the broken trust. I told her this was in her hands. She did not respond. We did not discuss it
further. After we returned to the office, I told her that if she wanted to talk, my door was open. I told her
that she did not have to do it, but it would be wise if she did. She acknowledged that and thanked me but
her body language made clear she would not be taking me up on the offer.

At no point in our conversation did Redacted acknowledge any fault or error of any kind. There seems to be
a complete absence of accountability that is frankly mystifying to me. I fully anticipate that her attempts to
manipulate are going to get worse before they get better.

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this....." She's not going to pick and choose what cases she's going to work on. So, I'm
going to stop worrying about it.

Thanks




JP Davis---06/26/2018 03:33:30 PM---Good question. I don't know if she raised her concerns to Peter. I
will venture to guess not.


From: JP Davis/NCWF/04/FDO
To: Anthony Martinez/NCWF/04/FDO@FDO
Date: 06/26/2018 03:33 PM
Subject: Re: Fw: Jeff King cases to PLAINTIFF




Tony,

Didn't get a chance to check in with you on this before I had to leave. I may regret it, but
I think I'd like to try talking to her 1-on-1 before we have a come-to-Jesus. In part, I'd like
to try a different approach based on what we discussed earlier; in part I feel some sense
of obligation being that I have never formally retired from being her mentor, even if that
relationship is effectively over. What do you think? We can discuss in the AM if that's
easier.

JP

Sent from IBM Verse
                                                        PLA NTIFF
Anthony Martinez --- Re: Fw: Jeff King cases to                     ---

From:               "Anthony Martinez" <Anthony_Martinez@fd.org>
To:                 "JP Davis" <JP_Davis@fd.org>



          Case 1:20-cv-00066-WGY Document 78-2 Filed 10/02/20 Page 21 of 51
Cc:                 "Joshua B Carpenter" <Joshua_Carpenter@fd.org>
Date:               Tue, Jun 26, 2018 1:00 PM
                                               PLAINTIFF
Subject:            Re: Fw: Jeff King cases to

Good question. I don't know if she raised her concerns to Peter. I will venture to guess
not.

Thanks




JP Davis---06/26/2018 12:29:44 PM---Tony, I believe PLAINTIFF has told me she has started the drafting on
              . Recollect that she


From: JP Davis/NCWF/04/FDO
To: Joshua B Carpenter/NCWF/04/FDO@FDO
Cc: Anthony Martinez/NCWF/04/FDO@FDO
Date: 06/26/2018 12:29 PM
Subject: Re: Fw: Jeff King cases to PLAINTIFF




Tony,

I believe PLAINT FF has told me she has started the drafting on              . Recollect that she took a day
of TEL a few weeks ago to work on it. If I recall correctly, she was at the drafting stage then. I could be
misremembering, but hopefully, that means she has made significant progress. Regardless, I know that
as of last week, she felt she had to put in more time on it..

I would also add that during our meeting last week to divvy up cases, when the idea of PLAINTIFF handling the
uncontested time-served illegal reentry sentencings came up, I texted her to ask how she would feel
about handling something like that. Shortly thereafter, I sent her an email pointing her to my text. She has
never responded to either.

Do we know if she raised these issues to Peter? I am concerned she is developing a habit of not
expressing her real concerns up front and then complaining up the chain.

J.P. Davis
First Assistant Federal Defender



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Federal Public Defender
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Joshua B Carpenter---06/26/2018 11:58:11 AM---For          , she owes me a draft of the opening
brief at some point soon, preferably by the end


From: Joshua B Carpenter/NCWF/04/FDO
To: Anthony Martinez/NCWF/04/FDO@FDO
Cc: JP Davis/NCWF/04/FDO@FDO
Date: 06/26/2018 11:58 AM
Subject: Re: Fw: Jeff King cases to PLAINTIFF




For                  , she owes me a draft of the opening brief at some point soon,
preferably by the end of next week, but I've not given her a precise internal deadline.
The filing deadline in the Fourth Circuit is now July 18, so I need it a good while in
advance of that so that I can review and give her an opportunity to make any needed
revisions. She's already reviewed the trial transcripts and we've talked through the two
issues we'll be raising in the brief. So I believe all that's left is for her to write it up.
The appeal is from a trial, though, so the writing process will take some time. If she's
not started drafting yet, I would anticipate that she'll need something like 2-3 full days
(16-24 hours) of effort to draft and revise it into good shape for my review.

For           , she is right that we'll be filing a motion for a new briefing schedule,
which will likely put our amended opening brief due in mid-to-late July. But I will
not need much work from her in that regard. At this point, I suspect that her time
commitment for that case will be less than one full day (8 hours) over the course of
the next month. We had not discussed this yet, though, so it wasn't unreasonable for
her to expect that more would be required. The reply brief won't be an issue until
the government files its reply, likely in September.




Joshua B. Carpenter
Appellate Chief
Federal Public Defender
Western District of North Carolina



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One Page Ave., Suite 210
Asheville, NC 28801
(828) 232-9992
Anthony Martinez---06/26/2018 11:12:10 AM---Josh, What exactly does PLAINTIFF have to do on the
              and the                  cases? I need


From: Anthony Martinez/NCWF/04/FDO
To: Joshua B Carpenter/NCWF/04/FDO@FDO
Cc: JP Davis/NCWF/04/FDO@FDO
Date: 06/26/2018 11:12 AM
Subject: Fw: Jeff King cases to PLAINTIFF




Josh,

What exactly does PLAINTIFF have to do on the              and the
cases? I need to nip this whining in the bud. She has 1 case in Defender Data and the
other cases she mentions there is nothing pending at the moment.

Thanks,
Tony




----- Forwarded by Anthony Martinez/NCWF/04/FDO on 06/26/2018 11:08 AM -----

From: PLAINTIFF
To: Anthony Martinez/NCWF/04/FDO@FDO
Date: 06/26/2018 10:46 AM
Subject: Fw: Jeff King cases to PLAINTIFF




Dear Tony,




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I wanted to give you a status update on my workload in light of the new case assignments below.

1. I have a preexisting commitment to Josh to work on an appeal in                    . We have
already gotten one extension (due to other pressing R&W commitments in trial cases) and I am on a hard
deadline to finish the brief shortly.

2. I have another commitment to work with Josh on an appeal in
                                                        We filed an opening brief in March. The Fourth
Circuit just reversed the district court and granted us a certificate of appealability last week. I anticipate
that we will ask for a formal briefing schedule, which will require further briefing and, in any event, I will be
required to draft a reply brief.

3. Kevin has a trial coming up on              and I will be providing R&W support. The docket call is set July
16.

4. I am also working on                   and             , among other trial cases. As you know, both of
those cases involve difficult issues and substantial R&W support.

In light of these preexisting commitments and others, I do not have the capacity to work on any of these
newly-assigned cases until after I finish the appeals briefs and help Kevin with the        trial later this
month, at a minimum. I wanted to be upfront with you with my scheduled commitments. I do not want to
be ineffective simply by being assigned more cases than I can handle.

In addition, I am concerned that I have not received any training in handling these these types of cases.
For example, I have never worked on an illegal reentry case. I was assured that these particular cases
are straightforward, but in similar situations in the past, I have sometimes found that not to be the case.

I am happy to talk with you in person about this further, and I am of course happy to do what needs to be
done to help with the office, but I have concerns about this situation and felt I needed to express them to
you directly.

Thanks,
PLAINTIFF




PLAINTIFF
Research & Writing Attorney
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----- Forwarded by PLAINTIFF /NCWF/04/FDO on 06/26/2018 10:16 AM -----




            Case 1:20-cv-00066-WGY Document 78-2 Filed 10/02/20 Page 25 of 51
From: Ivette Arroyo-Becker/NCWF/04/FDO
To: PLAINTIFF
Cc: Lisa Ottens/NCWF/04/FDO@FDO
Date: 06/26/2018 10:08 AM
Subject: Jeff King cases to PLAINTIFF




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"Arroyo-Becker_Ivette.vcf" deleted by Joshua B Carpenter/NCWF/04/FDO]




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                iii. Work flow?
                iv. Office space?
                 v. Distractions?

         c. What helps?

         d. How do you …. ?
               i. Approach tasks?
                      1. Plow through a single task excluding all others?

                 ii. How do you schedule your workload?

                iii. Keep track of assignments, due dates?

                iv. Communicate?

IV-      Setting Goals
         a. Short Term

         b. Long Term

V-       Exploring Solutions
         a. Assistant/Staff usage?

         b. New office space?

         c. Regular help structuring workload and prioritizing?

         d. Structured work flow and clear chain of authority?

         e. Specific person to ask questions?


VI-      Expectations of
                           Redacted




         a. Do work as instructed by team leader or other supervisor.

         b. Ask for help if you are overwhelmed or otherwise having difficulty prioritizing and
            balancing your workload. Do not attempt to dictate what assignments you will or won’t
            do.
                 i. Your team leader is your first source for help prioritizing and balancing your
                    workload.




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       c. Try to meet all your obligations wherever possible. When a conflict arises, ask for
          permission before cancelling a pre-existing commitment.

       d. Respond to legitimate work-related emails or texts asking you for feedback.

       e. Ask for specific instructions where you need them, including asking your team leader to
          establish general practices or procedures that you need.

                i. Try to identify when you are requesting something that you would prefer or
                   would make you more comfortable vs. when what you are requesting is
                   something you actually need. Be as clear about the distinction as possible,
                   bearing in mind that your team leader/supervisor may have good reasons for
                   pushing you outside your comfort zone.

       f.   Communicate concerns as clearly as possible to the appropriate person.

                i. If it is unclear who the appropriate person is, the default is your team leader,
                   except for general office administrative concerns, or any HR-related concerns,
                   which should be communicated to a member of the management team (Bill,
                   Tony or JP), generally Bill.

                ii. If an issue arises involving more than one team leader/supervisor, request a
                    meeting with both or that they speak to each other to clarify priority. Do not try
                    to get one to override the other.

               iii. Respect your team leader or supervisor’s decisions and follow their directions if
                    possible.

               iv. Absent a compelling reason not to, let the team leader/first-level supervisor
                   involved know if you feel you must elevate an issue to a higher level supervisor.

       g. Work on identifying when your reactions are based on emotion or stress rather than
          logic or legitimate concern.

       h. Find a mentor whose opinion and judgment you respect, and seek their advice when
          you are stressed or need advice.

       i.   If you are unsure how to meet these expectations and you cannot or do not feel
            comfortable asking your team leader or an informal mentor, ask JP or Tony.

VII-   Expectations of Us?




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on its face, and also because if she had said that to me, I would have asked why they couldn't start later. I
pointed this out, she claimed not to recall.

 She returned to the idea that I had crossed a boundary with the "tone" of how I had spoken to her.
Without admitting that there was anything improper about my tone on 6/6 or 6.7, I told her I would try to
keep from using a similar tone in the future but her actions were unacceptable and I had to respond to
them. She said something about how speaking to her like that could never happen again, and I said, in as
unconfrontational a tone as possible, "Redacted , you lied to me repeatedly. That's not okay."

She responded that if that was the case we should go talk to Tony and got up and left the room. I came
out with her and said that it was fine, we could go and talk to Tony. She said "now?" I said yes, either that
or we could cool down first and try to talk to each other again. She said something that comported with
that but was ambiguous as to whether she meant she would later want to meet with me or with Tony. I
asked, and she said "Let me go... deal with this and I'll get back to you very soon." Then she walked away
into her office.

She left for the day 10 to 20 minutes later.



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3/6/2019                                                               Time History Report
   Davis, JP Imelda Garcia       216.136.72.6      6/4/2018 6:33 PM    6/5/2018 8:50 AM      .Out for the Day   Out   14.28
   Davis, JP zFDWNC zAdmin 206.16.244.12           6/5/2018 8:50 AM    6/5/2018 9:07 AM      .In the Office     In     0.29
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/5/2018 9:07 AM    6/5/2018 11:39 AM     Court              In     2.55
   Davis, JP System Account      216.136.72.6      6/5/2018 11:39 AM   6/5/2018 10:00 PM     .In the Office     In    10.34
   Davis, JP zFDWNC zAdmin                         6/5/2018 10:00 PM   6/6/2018 8:14 AM      .Out for the Day   Out   10.23
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/6/2018 8:14 AM    6/6/2018 12:49 PM     .In the Office     In     4.59
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/6/2018 12:49 PM   6/6/2018 2:15 PM      Jail               In     1.43
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/6/2018 2:15 PM    6/6/2018 2:57 PM      .In the Office     In     0.70
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/6/2018 2:57 PM    6/6/2018 2:57 PM      .Out for the Day   Out    0.00
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/6/2018 2:57 PM    6/7/2018 7:29 AM      Sick Leave         PTO   16.54
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/7/2018 7:29 AM    6/7/2018 8:15 AM      .In the Office     In     0.76
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/7/2018 8:15 AM    6/7/2018 9:51 AM      Jail               In     1.60
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/7/2018 9:51 AM    6/7/2018 3:14 PM      .In the Office     In     5.39
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/7/2018 3:14 PM    6/8/2018 8:49 AM      Flex               In    17.57
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/8/2018 8:49 AM    6/8/2018 1:39 PM      .In the Office     In     4.83
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/8/2018 1:39 PM    6/8/2018 2:03 PM      15 min Break       In     0.40
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/8/2018 2:03 PM    6/8/2018 4:49 PM      .In the Office     In     2.77
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/8/2018 4:49 PM    6/11/2018 8:47 AM     .Out for the Day   Out   63.97
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/11/2018 8:47 AM   6/11/2018 9:19 AM     .In the Office     In     0.53
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/11/2018 9:19 AM   6/11/2018 9:48 AM     Court              In     0.48
   Davis, JP System Account      216.136.72.6      6/11/2018 9:48 AM   6/11/2018 10:00 PM .In the Office        In    12.20
   Davis, JP zFDWNC zAdmin                         6/11/2018 10:00 PM 6/12/2018 8:43 AM      .Out for the Day   Out   10.72
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/12/2018 8:43 AM   6/12/2018 9:17 AM     .In the Office     In     0.56
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/12/2018 9:17 AM   6/12/2018 10:20 AM Jail                  In     1.04
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/12/2018 10:20 AM 6/12/2018 1:23 PM      .In the Office     In     3.05
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/12/2018 1:23 PM   6/12/2018 1:54 PM     Court              In     0.53
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/12/2018 1:54 PM   6/12/2018 6:42 PM     .In the Office     In     4.79
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/12/2018 6:42 PM   6/13/2018 8:47 AM     .Out for the Day   Out   14.09
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/13/2018 8:47 AM   6/13/2018 5:57 PM     .In the Office     In     9.16
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/13/2018 5:57 PM   6/14/2018 8:35 AM     .Out for the Day   Out   14.64
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/14/2018 8:35 AM   6/14/2018 12:46 PM .In the Office        In     4.18
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/14/2018 12:46 PM 6/14/2018 2:17 PM      Lunch              In     1.52
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/14/2018 2:17 PM   6/14/2018 6:22 PM     .In the Office     In     4.08
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/14/2018 6:22 PM   6/15/2018 8:30 AM     .Out for the Day   Out   14.14
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/15/2018 8:30 AM   6/15/2018 2:33 PM     .In the Office     In     6.05
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/15/2018 2:33 PM   6/15/2018 4:56 PM     Jail               In     2.38
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/15/2018 4:56 PM   6/15/2018 7:17 PM     .In the Office     In     2.35
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/15/2018 7:17 PM   6/18/2018 8:48 AM     .Out for the Day   Out   61.52
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/18/2018 8:48 AM   6/18/2018 9:53 AM     .In the Office     In     1.08
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/18/2018 9:53 AM   6/18/2018 3:17 PM     Working Out of     In     5.40 USAO
                                                                                             Office
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/18/2018 3:17 PM   6/18/2018 5:23 PM     .In the Office     In     2.11
   Davis, JP JP Davis            216.136.72.10     6/18/2018 5:23 PM   6/18/2018 7:49 PM     Jail               In     2.44
   Davis, JP zFDWNC zAdmin 206.16.244.12           6/18/2018 7:49 PM   6/18/2018 8:09 PM     .In the Office     In     0.33
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/18/2018 8:09 PM   6/19/2018 1:25 PM     .Out for the Day   Out   17.26
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/19/2018 1:25 PM   6/19/2018 6:55 PM     .In the Office     In     5.50
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/19/2018 6:55 PM   6/20/2018 8:44 AM     .Out for the Day   Out   13.82
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https://www.inoutboard.com/Reports/TimeHistoryReport.aspx                                                                          2/6
3/6/2019                                                               Time History Report
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/20/2018 8:44 AM   6/20/2018 9:56 AM     .In the Office     In     1.19
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/20/2018 9:56 AM   6/20/2018 12:03 PM Jail                  In     2.13
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/20/2018 12:03 PM 6/20/2018 4:25 PM      .In the Office     In     4.37
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/20/2018 4:25 PM   6/21/2018 8:43 AM     .Out for the Day   Out   16.30
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/21/2018 8:43 AM   6/21/2018 9:29 AM     .In the Office     In     0.75
   Davis, JP zFDWNC zAdmin 216.136.72.10           6/21/2018 9:29 AM   6/21/2018 11:01 AM Jail                  In     1.54
   Davis, JP System Account      216.136.72.10     6/21/2018 11:01 AM 6/21/2018 10:00 PM .In the Office         In    10.99
   Davis, JP zFDWNC zAdmin                         6/21/2018 10:00 PM 6/22/2018 8:41 AM      .Out for the Day   Out   10.68
   Davis, JP System Account      216.136.72.10     6/22/2018 8:41 AM   6/22/2018 10:00 PM .In the Office        In    13.31
   Davis, JP zFDWNC zAdmin                         6/22/2018 10:00 PM 6/25/2018 8:21 AM      .Out for the Day   Out   58.35
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/25/2018 8:21 AM   6/25/2018 8:56 AM     .In the Office     In     0.59
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/25/2018 8:56 AM   6/25/2018 11:05 AM Court                 In     2.15
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/25/2018 11:05 AM 6/25/2018 12:47 PM .In the Office         In     1.70
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/25/2018 12:47 PM 6/25/2018 1:03 PM      Lunch              In     0.27
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/25/2018 1:03 PM   6/25/2018 2:51 PM     .In the Office     In     1.80
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/25/2018 2:51 PM   6/25/2018 4:37 PM     Jail               In     1.77
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/25/2018 4:37 PM   6/25/2018 5:07 PM     .In the Office     In     0.50
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/25/2018 5:07 PM   6/26/2018 8:41 AM     .Out for the Day   Out   15.57
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/26/2018 8:41 AM   6/26/2018 9:21 AM     .In the Office     In     0.65
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/26/2018 9:21 AM   6/26/2018 12:08 PM Working Out of        In     2.79 HSI
                                                                                          Office
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/26/2018 12:08 PM 6/26/2018 12:59 PM .In the Office         In     0.84
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/26/2018 12:59 PM 6/26/2018 2:37 PM      Jail               In     1.64
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/26/2018 2:37 PM   6/26/2018 3:17 PM     .In the Office     In     0.66
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/26/2018 3:17 PM   6/27/2018 8:49 AM     Flex               In    17.53
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/27/2018 8:49 AM   6/27/2018 10:15 AM .In the Office        In     1.44
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/27/2018 10:15 AM 6/27/2018 11:54 AM Jail                   In     1.64
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/27/2018 11:54 AM 6/27/2018 12:16 PM .In the Office         In     0.37
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/27/2018 12:16 PM 6/27/2018 4:12 PM      Working Out of     In     3.93
                                                                                             Office
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/27/2018 4:12 PM   6/27/2018 7:08 PM     .In the Office     In     2.93
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/27/2018 7:08 PM   6/28/2018 9:29 AM     .Out for the Day   Out   14.36
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/28/2018 9:29 AM   6/28/2018 10:27 AM .In the Office        In     0.97
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/28/2018 10:27 AM 6/28/2018 11:41 AM Jail                   In     1.22
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/28/2018 11:41 AM 6/28/2018 1:13 PM      .In the Office     In     1.53
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/28/2018 1:13 PM   6/28/2018 3:29 PM     Jail               In     2.27
   Davis, JP System Account      216.136.72.6      6/28/2018 3:29 PM   6/28/2018 10:00 PM .In the Office        In     6.53
   Davis, JP zFDWNC zAdmin                         6/28/2018 10:00 PM 6/29/2018 8:39 AM      .Out for the Day   Out   10.64
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/29/2018 8:39 AM   6/29/2018 6:26 PM     .In the Office     In     9.78
   Davis, JP zFDWNC zAdmin 216.136.72.6            6/29/2018 6:26 PM   7/2/2018 8:47 AM      .Out for the Day   Out   62.35
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/2/2018 8:47 AM    7/2/2018 8:54 AM      .In the Office     In     0.12
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/2/2018 8:54 AM    7/2/2018 11:15 AM     Court              In     2.34
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/2/2018 11:15 AM   7/2/2018 1:00 PM      .In the Office     In     1.76
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/2/2018 1:00 PM    7/2/2018 2:26 PM      Jail               In     1.42
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/2/2018 2:26 PM    7/2/2018 5:52 PM      .In the Office     In     3.45
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/2/2018 5:52 PM    7/3/2018 8:34 AM      .Out for the Day   Out   14.70
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/3/2018 8:34 AM    7/3/2018 8:47 AM      .In the Office     In     0.20

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3/6/2019                                                               Time History Report
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/3/2018 8:47 AM    7/3/2018 11:21 AM     Jail               In      2.57
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/3/2018 11:21 AM   7/3/2018 4:17 PM      .In the Office     In      4.94
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/3/2018 4:17 PM    7/5/2018 8:45 AM      .Out for the Day   Out    40.46
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/5/2018 8:45 AM    7/5/2018 9:15 AM      .In the Office     In      0.51
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/5/2018 9:15 AM    7/5/2018 11:07 AM     Working Out of     In      1.86 LEC
                                                                                             Office
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/5/2018 11:07 AM   7/5/2018 2:35 PM      .In the Office     In      3.47
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/5/2018 2:35 PM    7/5/2018 4:29 PM      Jail               In      1.90
   Davis, JP System Account      216.136.72.6      7/5/2018 4:29 PM    7/5/2018 10:00 PM     .In the Office     In      5.51
   Davis, JP zFDWNC zAdmin                         7/5/2018 10:00 PM   7/6/2018 8:57 AM      .Out for the Day   Out    10.96
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/6/2018 8:57 AM    7/6/2018 10:25 AM     .In the Office     In      1.46
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/6/2018 10:25 AM   7/6/2018 11:01 AM     Court              In      0.60
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/6/2018 11:01 AM   7/6/2018 12:22 PM     .In the Office     In      1.36
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/6/2018 12:22 PM   7/6/2018 1:52 PM      Lunch              In      1.50
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/6/2018 1:52 PM    7/6/2018 4:33 PM      Jail               In      2.67
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/6/2018 4:33 PM    7/6/2018 5:22 PM      .In the Office     In      0.83
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/6/2018 5:22 PM    7/16/2018 9:14 AM     .Out for the Day   Out   231.87
   Davis, JP zFDWNC zAdmin 216.136.72.10           7/16/2018 9:14 AM   7/16/2018 1:18 PM     .In the Office     In      4.06
   Davis, JP zFDWNC zAdmin 216.136.72.10           7/16/2018 1:18 PM   7/16/2018 1:36 PM     Lunch              In      0.30
   Davis, JP JP Davis            216.136.72.10     7/16/2018 1:36 PM   7/16/2018 4:30 PM     .In the Office     In      2.90
   Davis, JP zFDWNC zAdmin 174.193.149.163 7/16/2018 4:30 PM           7/17/2018 8:46 AM     Flex               In     16.27
   Davis, JP zFDWNC zAdmin 216.136.72.10           7/17/2018 8:46 AM   7/17/2018 3:17 PM     .In the Office     In      6.52
   Davis, JP zFDWNC zAdmin 216.136.72.10           7/17/2018 3:17 PM   7/18/2018 8:53 AM     Sick Leave         PTO    17.60
   Davis, JP zFDWNC zAdmin 216.136.72.10           7/18/2018 8:53 AM   7/18/2018 9:27 AM     .In the Office     In      0.56
   Davis, JP zFDWNC zAdmin 216.136.72.10           7/18/2018 9:27 AM   7/18/2018 10:05 AM Court                 In      0.64
   Davis, JP zFDWNC zAdmin 216.136.72.10           7/18/2018 10:05 AM 7/18/2018 10:36 AM .In the Office         In      0.52
   Davis, JP zFDWNC zAdmin 216.136.72.10           7/18/2018 10:36 AM 7/18/2018 2:06 PM      Court              In      3.51
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/18/2018 2:06 PM   7/18/2018 2:19 PM     .In the Office     In      0.21
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/18/2018 2:19 PM   7/18/2018 4:29 PM     Working Out of     In      2.18 Mock crtrm
                                                                                             Office
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/18/2018 4:29 PM   7/18/2018 5:53 PM     .In the Office     In      1.40
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/18/2018 5:53 PM   7/19/2018 8:43 AM     .Out for the Day   Out    14.84
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/19/2018 8:43 AM   7/19/2018 9:23 AM     .In the Office     In      0.66
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/19/2018 9:23 AM   7/19/2018 12:01 PM Jail                  In      2.63
   Davis, JP System Account      216.136.72.6      7/19/2018 12:01 PM 7/19/2018 10:00 PM .In the Office         In      9.99
   Davis, JP zFDWNC zAdmin                         7/19/2018 10:00 PM 7/20/2018 8:18 AM      .Out for the Day   Out    10.30
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/20/2018 8:18 AM   7/20/2018 5:33 PM     .In the Office     In      9.26
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/20/2018 5:33 PM   7/23/2018 8:52 AM     .Out for the Day   Out    63.31
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/23/2018 8:52 AM   7/23/2018 9:42 AM     .In the Office     In      0.83
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/23/2018 9:42 AM   7/23/2018 11:47 AM Jail                  In      2.09
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/23/2018 11:47 AM 7/23/2018 5:40 PM      .In the Office     In      5.88
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/23/2018 5:40 PM   7/24/2018 9:31 AM     .Out for the Day   Out    15.85
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/24/2018 9:31 AM   7/24/2018 5:33 PM     .In the Office     In      8.03
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/24/2018 5:33 PM   7/25/2018 8:36 AM     .Out for the Day   Out    15.04
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/25/2018 8:36 AM   7/25/2018 9:35 AM     .In the Office     In      0.99
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/25/2018 9:35 AM   7/25/2018 5:07 PM     Court              In      7.52
   Davis, JP System Account      216.136.72.6      7/25/2018 5:07 PM   7/25/2018 10:00 PM .In the Office        In      4.89

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3/6/2019                                                               Time History Report
   Davis, JP zFDWNC zAdmin                         7/25/2018 10:00 PM 7/26/2018 8:40 AM      .Out for the Day   Out   10.67
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/26/2018 8:40 AM   7/26/2018 10:02 AM .In the Office        In     1.37
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/26/2018 10:02 AM 7/26/2018 11:37 AM Jail                   In     1.58
   Davis, JP System Account      216.136.72.6      7/26/2018 11:37 AM 7/26/2018 10:00 PM .In the Office         In    10.38
   Davis, JP zFDWNC zAdmin                         7/26/2018 10:00 PM 7/27/2018 8:36 AM      .Out for the Day   Out   10.61
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/27/2018 8:36 AM   7/27/2018 9:47 AM     .In the Office     In     1.18
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/27/2018 9:47 AM   7/27/2018 10:48 AM Working in            In     1.01 USAO
                                                                                          Charlotte
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/27/2018 10:48 AM 7/27/2018 12:38 PM .In the Office         In     1.83
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/27/2018 12:38 PM 7/27/2018 12:55 PM Lunch                  In     0.29
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/27/2018 12:55 PM 7/27/2018 5:50 PM      .In the Office     In     4.91
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/27/2018 5:50 PM   7/30/2018 8:51 AM     .Out for the Day   Out   63.02
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/30/2018 8:51 AM   7/30/2018 10:08 AM .In the Office        In     1.29
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/30/2018 10:08 AM 7/30/2018 11:16 AM Court                  In     1.12
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/30/2018 11:16 AM 7/30/2018 12:32 PM .In the Office         In     1.27
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/30/2018 12:32 PM 7/30/2018 1:39 PM      Lunch              In     1.12
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/30/2018 1:39 PM   7/30/2018 3:08 PM     Jail               In     1.48
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/30/2018 3:08 PM   7/30/2018 4:05 PM     .In the Office     In     0.96
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/30/2018 4:05 PM   7/31/2018 1:17 PM     Sick Leave         PTO   21.20
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/31/2018 1:17 PM   7/31/2018 1:39 PM     .In the Office     In     0.36
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/31/2018 1:39 PM   7/31/2018 4:27 PM     Jail               In     2.79 Mcjc
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/31/2018 4:27 PM   7/31/2018 5:40 PM     .In the Office     In     1.23
   Davis, JP zFDWNC zAdmin 216.136.72.6            7/31/2018 5:40 PM   8/1/2018 8:42 AM      .Out for the Day   Out   15.03
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/1/2018 8:42 AM    8/1/2018 10:08 AM     .In the Office     In     1.43
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/1/2018 10:08 AM   8/1/2018 1:01 PM      Court              In     2.89
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/1/2018 1:01 PM    8/1/2018 3:40 PM      .In the Office     In     2.65
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/1/2018 3:40 PM    8/1/2018 3:58 PM      15 min Break       In     0.31
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/1/2018 3:58 PM    8/1/2018 5:59 PM      .In the Office     In     2.00
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/1/2018 5:59 PM    8/2/2018 8:46 AM      .Out for the Day   Out   14.78
   Davis, JP System Account      216.136.72.6      8/2/2018 8:46 AM    8/2/2018 10:00 PM     .In the Office     In    13.24
   Davis, JP zFDWNC zAdmin                         8/2/2018 10:00 PM   8/3/2018 10:27 AM     .Out for the Day   Out   12.45
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/3/2018 10:27 AM   8/3/2018 2:05 PM      .In the Office     In     3.64
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/3/2018 2:05 PM    8/3/2018 3:35 PM      Jail               In     1.49 Mcjc
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/3/2018 3:35 PM    8/3/2018 6:30 PM      .In the Office     In     2.93
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/3/2018 6:30 PM    8/6/2018 8:51 AM      .Out for the Day   Out   62.34
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/6/2018 8:51 AM    8/6/2018 9:34 AM      .In the Office     In     0.73
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/6/2018 9:34 AM    8/6/2018 10:31 AM     Court              In     0.95
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/6/2018 10:31 AM   8/6/2018 1:33 PM      .In the Office     In     3.03
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/6/2018 1:33 PM    8/6/2018 3:03 PM      Jail               In     1.50
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/6/2018 3:03 PM    8/6/2018 5:31 PM      .In the Office     In     2.47
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/6/2018 5:31 PM    8/7/2018 8:42 AM      .Out for the Day   Out   15.19
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/7/2018 8:42 AM    8/7/2018 9:14 AM      .In the Office     In     0.53
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/7/2018 9:14 AM    8/7/2018 10:17 AM     Working in         In     1.05 Lec
                                                                                             Charlotte
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/7/2018 10:17 AM   8/7/2018 3:58 PM      .In the Office     In     5.69
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/7/2018 3:58 PM    8/8/2018 8:46 AM      Flex               In    16.80
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/8/2018 8:46 AM    8/8/2018 6:10 PM      .In the Office     In     9.40

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3/6/2019                                                               Time History Report
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/8/2018 6:10 PM    8/9/2018 8:43 AM      .Out for the Day   Out     14.55
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/9/2018 8:43 AM    8/9/2018 12:42 PM     .In the Office     In        3.98
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/9/2018 12:42 PM   8/9/2018 1:08 PM      Lunch              In        0.44
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/9/2018 1:08 PM    8/9/2018 6:05 PM      .In the Office     In        4.94
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/9/2018 6:05 PM    8/10/2018 8:47 AM     .Out for the Day   Out     14.71
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/10/2018 8:47 AM   8/10/2018 1:30 PM     .In the Office     In        4.71
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/10/2018 1:30 PM   8/10/2018 3:25 PM     Jail               In        1.93
   Davis, JP zFDWNC zAdmin 216.136.72.6            8/10/2018 3:25 PM   8/10/2018 6:56 PM     .In the Office     In        3.51
                                                                                                                      2,099.19

   Total Hours IN       574.46
   Total Hours OUT 1,451.36
   Total Hours PTO       73.37




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3/6/2019                                                                 Time History Report

    Redacted      zFDWNC zAdmin 97.95.243.120 6/1/2018 8:21 AM             6/1/2018 5:23 PM    .In the Office     In     9.04
    Redacted      zFDWNC zAdmin 216.136.72.6         6/1/2018 5:23 PM      6/4/2018 8:22 AM    .Out for the Day   Out   62.98
    Redacted      zFDWNC zAdmin 216.136.72.6         6/4/2018 8:22 AM      6/4/2018 1:05 PM    .In the Office     In     4.71
    Redacted      zFDWNC zAdmin 216.136.72.6         6/4/2018 1:05 PM      6/4/2018 1:21 PM    Lunch              In     0.27
    Redacted      zFDWNC zAdmin 216.136.72.6         6/4/2018 1:21 PM      6/4/2018 6:27 PM    .In the Office     In     5.10
    Redacted      zFDWNC zAdmin 216.136.72.6         6/4/2018 6:27 PM      6/5/2018 8:07 AM    .Out for the Day   Out   13.67
    Redacted      zFDWNC zAdmin 216.136.72.6         6/5/2018 8:07 AM      6/5/2018 12:44 PM   .In the Office     In     4.62
    Redacted      zFDWNC zAdmin 216.136.72.6         6/5/2018 12:44 PM     6/5/2018 1:13 PM    Lunch              In     0.48
    Redacted      zFDWNC zAdmin 216.136.72.6         6/5/2018 1:13 PM      6/5/2018 6:06 PM    .In the Office     In     4.89
    Redacted      zFDWNC zAdmin 216.136.72.6         6/5/2018 6:06 PM      6/6/2018 7:43 AM    .Out for the Day   Out   13.61
    Redacted      zFDWNC zAdmin 216.136.72.6         6/6/2018 7:43 AM      6/6/2018 10:08 AM   .In the Office     In     2.42
    Redacted      zFDWNC zAdmin 216.136.72.6         6/6/2018 10:08 AM     6/6/2018 10:46 AM   15 min Break       In     0.63
    Redacted      zFDWNC zAdmin 216.136.72.6         6/6/2018 10:46 AM     6/6/2018 12:12 PM   .In the Office     In     1.43
    Redacted      zFDWNC zAdmin 216.136.72.6         6/6/2018 12:12 PM     6/6/2018 12:32 PM   Lunch              In     0.34
    Redacted      zFDWNC zAdmin 216.136.72.6         6/6/2018 12:32 PM     6/6/2018 12:47 PM   .In the Office     In     0.25
    Redacted      zFDWNC zAdmin 216.136.72.6         6/6/2018 12:47 PM     6/6/2018 3:28 PM    Working in         In     2.68 Usao
                                                                                               Charlotte
    Redacted      zFDWNC zAdmin 216.136.72.6         6/6/2018 3:28 PM      6/6/2018 5:29 PM    .In the Office     In     2.02
    Redacted      zFDWNC zAdmin 216.136.72.6         6/6/2018 5:29 PM      6/7/2018 7:53 AM    .Out for the Day   Out   14.41
    Redacted      zFDWNC zAdmin 216.136.72.6         6/7/2018 7:53 AM      6/7/2018 8:15 AM    .In the Office     In     0.36
    Redacted      zFDWNC zAdmin 216.136.72.6         6/7/2018 8:15 AM      6/7/2018 9:51 AM    Jail               In     1.60
    Redacted      zFDWNC zAdmin 216.136.72.6         6/7/2018 9:51 AM      6/7/2018 12:23 PM   .In the Office     In     2.53
    Redacted      zFDWNC zAdmin 216.136.72.6         6/7/2018 12:23 PM     6/7/2018 1:13 PM    Lunch              In     0.83
    Redacted      zFDWNC zAdmin 216.136.72.6         6/7/2018 1:13 PM      6/7/2018 5:13 PM    .In the Office     In     4.00
    Redacted      zFDWNC zAdmin 216.136.72.6         6/7/2018 5:13 PM      6/8/2018 10:06 AM   .Out for the Day   Out   16.88
    Redacted      zFDWNC zAdmin 216.136.72.6         6/8/2018 10:06 AM     6/8/2018 3:37 PM    .In the Office     In     5.52
    Redacted      zFDWNC zAdmin 216.136.72.6         6/8/2018 3:37 PM      6/12/2018 8:20 AM   Flex               In    88.72
    Redacted      zFDWNC zAdmin 216.136.72.6         6/12/2018 8:20 AM     6/12/2018 12:28 PM .In the Office      In     4.14
    Redacted      zFDWNC zAdmin 216.136.72.6         6/12/2018 12:28 PM 6/12/2018 12:55 PM Lunch                  In     0.44
    Redacted      zFDWNC zAdmin 216.136.72.6         6/12/2018 12:55 PM 6/12/2018 6:27 PM      .In the Office     In     5.54
    Redacted      zFDWNC zAdmin 216.136.72.6         6/12/2018 6:27 PM     6/13/2018 8:06 AM   .Out for the Day   Out   13.66
    Redacted      zFDWNC zAdmin 216.136.72.6         6/13/2018 8:06 AM     6/13/2018 12:47 PM .In the Office      In     4.68
    Redacted      zFDWNC zAdmin 216.136.72.6         6/13/2018 12:47 PM 6/13/2018 1:17 PM      Lunch              In     0.50
    Redacted      System Account     216.136.72.6    6/13/2018 1:17 PM     6/13/2018 10:00 PM .In the Office      In     8.70
    Redacted      zFDWNC zAdmin                      6/13/2018 10:00 PM 6/14/2018 8:18 AM      .Out for the Day   Out   10.31
    Redacted      zFDWNC zAdmin 216.136.72.10 6/14/2018 8:18 AM            6/14/2018 8:45 AM   .In the Office     In     0.44
    Redacted      zFDWNC zAdmin 216.136.72.10 6/14/2018 8:45 AM            6/14/2018 9:04 AM   15 min Break       In     0.33
    Redacted      zFDWNC zAdmin 216.136.72.10 6/14/2018 9:04 AM            6/14/2018 12:54 PM .In the Office      In     3.84
    Redacted      zFDWNC zAdmin 216.136.72.10 6/14/2018 12:54 PM 6/14/2018 2:08 PM             Lunch              In     1.22
    Redacted      zFDWNC zAdmin 216.136.72.10 6/14/2018 2:08 PM            6/14/2018 5:16 PM   .In the Office     In     3.14
    Redacted      zFDWNC zAdmin 216.136.72.10 6/14/2018 5:16 PM            6/15/2018 8:18 AM   .Out for the Day   Out   15.04
    Redacted      zFDWNC zAdmin 216.136.72.10 6/15/2018 8:18 AM            6/15/2018 4:16 PM   .In the Office     In     7.97
    Redacted      zFDWNC zAdmin 216.136.72.10 6/15/2018 4:16 PM            6/18/2018 1:09 PM   Flex               In    68.88
    Redacted      zFDWNC zAdmin 216.136.72.10 6/18/2018 1:09 PM            6/18/2018 8:09 PM   .In the Office     In     7.01
    Redacted      zFDWNC zAdmin 216.136.72.10 6/18/2018 8:09 PM            6/19/2018 8:00 AM   .Out for the Day   Out   11.85
    Redacted      zFDWNC zAdmin 216.136.72.10 6/19/2018 8:00 AM            6/19/2018 5:31 PM   .In the Office     In     9.51
    Redacted      zFDWNC
                   Case zAdmin 216.136.72.10 6/19/2018
                         1:20-cv-00066-WGY             5:31 PM 6/20/2018
                                                    Document             7:44 AM10/02/20
                                                                78-2 Filed        .Out for the Page
                                                                                               Day   Outof 5114.22
                                                                                                    39
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3/6/2019                                                                 Time History Report

    Redacted      zFDWNC zAdmin 216.136.72.10 6/20/2018 7:44 AM            6/20/2018 5:39 PM   .In the Office     In     9.91
    Redacted      zFDWNC zAdmin 216 136 72 10 6/20/2018 5 39 PM            6/21/2018 7 44 AM    Out for the Day   Out   14 09
    Redacted      zFDWNC zAdmin 216.136.72.10 6/21/2018 7:44 AM            6/21/2018 1:05 PM   .In the Office     In     5.35
    Redacted      zFDWNC zAdmin 216.136.72.10 6/21/2018 1:05 PM            6/21/2018 1:16 PM   15 min Break       In     0.18
    Redacted      zFDWNC zAdmin 216.136.72.10 6/21/2018 1:16 PM            6/21/2018 6:46 PM   .In the Office     In     5.50
    Redacted      zFDWNC zAdmin 216 136 72 10 6/21/2018 6 46 PM            6/25/2018 8 56 AM    Out for the Day   Out   86 17
    Redacted      zFDWNC zAdmin 216.136.72.6         6/25/2018 8:56 AM     6/25/2018 12:43 PM Court               In     3.77
    Redacted      zFDWNC zAdmin 216.136.72.6         6/25/2018 12:43 PM 6/26/2018 8:11 AM      Working Out of     In    19.47
                                                                                               Office
    Redacted      zFDWNC zAdmin 216.136.72.6         6/26/2018 8:11 AM     6/26/2018 12:08 PM .In the Office      In     3.96
    Redacted      zFDWNC zAdmin 216 136 72 6         6/26/2018 12 08 PM 6/26/2018 5 02 PM      Lunch              In     4 89
    Redacted      zFDWNC zAdmin 216.136.72.6         6/26/2018 5:02 PM     6/27/2018 7:55 AM   .Out for the Day   Out   14.88
    Redacted      zFDWNC zAdmin 216.136.72.6         6/27/2018 7:55 AM     6/27/2018 12:27 PM .In the Office      In     4.54
    Redacted      zFDWNC zAdmin 216.136.72.6         6/27/2018 12:27 PM 6/27/2018 1:03 PM      Lunch              In     0.60
    Redacted      zFDWNC zAdmin 216 136 72 6         6/27/2018 1 03 PM     6/27/2018 4 33 PM    In the Office     In     3 50
    Redacted      zFDWNC zAdmin 216.136.72.6         6/27/2018 4:33 PM     7/2/2018 8:01 AM    Working Out of     In    111.46
                                                                                               Office
    Redacted      zFDWNC zAdmin 216.136.72.6         7/2/2018 8:01 AM      7/2/2018 12:22 PM   .In the Office     In     4.35
    Redacted      zFDWNC zAdmin 216.136.72.6         7/2/2018 12:22 PM     7/2/2018 3:23 PM    Lunch              In     3.02
    Redacted      zFDWNC zAdmin 216 136 72 6         7/2/2018 3 23 PM      7/3/2018 7 55 AM     Out for the Day   Out   16 53
    Redacted      System Account     216.136.72.6    7/3/2018 7:55 AM      7/3/2018 10:00 PM   .In the Office     In    14.08
    Redacted      zFDWNC zAdmin                      7/3/2018 10:00 PM     7/5/2018 8:03 AM    .Out for the Day   Out   34.05
    Redacted      zFDWNC zAdmin 216.136.72.6         7/5/2018 8:03 AM      7/5/2018 12:49 PM   .In the Office     In     4.77
    Redacted      zFDWNC zAdmin 216 136 72 6         7/5/2018 12 49 PM     7/5/2018 4 20 PM    Jail               In     3 52
    Redacted      System Account     216.136.72.6    7/5/2018 4:20 PM      7/5/2018 10:00 PM   .In the Office     In     5.66
    Redacted      zFDWNC zAdmin                      7/5/2018 10:00 PM     7/6/2018 8:17 AM    .Out for the Day   Out   10.29
    Redacted      zFDWNC zAdmin 216.136.72.6         7/6/2018 8:17 AM      7/6/2018 9:49 AM    .In the Office     In     1.53
    Redacted      zFDWNC zAdmin 216 136 72 6         7/6/2018 9 49 AM      7/6/2018 11 00 AM   15 min Break       In     1 19
    Redacted      zFDWNC zAdmin 216.136.72.6         7/6/2018 11:00 AM     7/6/2018 12:19 PM   .In the Office     In     1.32
    Redacted      zFDWNC zAdmin 216.136.72.6         7/6/2018 12:19 PM     7/6/2018 1:10 PM    Lunch              In     0.84
    Redacted      zFDWNC zAdmin 216.136.72.6         7/6/2018 1:10 PM      7/6/2018 3:02 PM    .In the Office     In     1.87
    Redacted      zFDWNC zAdmin 216 136 72 6         7/6/2018 3 02 PM      7/9/2018 8 30 AM    Flex               In    65 47
    Redacted      zFDWNC zAdmin 216.136.72.10 7/9/2018 8:30 AM             7/9/2018 5:18 PM    .In the Office     In     8.81
    Redacted      zFDWNC zAdmin 216.136.72.10 7/9/2018 5:18 PM             7/10/2018 7:59 AM   .Out for the Day   Out   14.68
    Redacted      zFDWNC zAdmin 216.136.72.10 7/10/2018 7:59 AM            7/10/2018 8:59 AM   .In the Office     In     1.00
    Redacted      zFDWNC zAdmin 216 136 72 10 7/10/2018 8 59 AM            7/10/2018 10 44 AM Jail                In     1 74
    Redacted      zFDWNC zAdmin 216.136.72.10 7/10/2018 10:44 AM 7/10/2018 11:38 AM .In the Office                In     0.90
    Redacted      zFDWNC zAdmin 216.136.72.10 7/10/2018 11:38 AM 7/10/2018 12:01 PM Lunch                         In     0.38
    Redacted      zFDWNC zAdmin 216.136.72.10 7/10/2018 12:01 PM 7/10/2018 5:59 PM             .In the Office     In     5.97
    Redacted      zFDWNC zAdmin 216 136 72 10 7/10/2018 5 59 PM            7/12/2018 7 53 AM    Out for the Day   Out   37 91
    Redacted      zFDWNC zAdmin 216.136.72.10 7/12/2018 7:53 AM            7/12/2018 12:11 PM .In the Office      In     4.30
    Redacted      zFDWNC zAdmin 216.136.72.10 7/12/2018 12:11 PM 7/12/2018 1:19 PM             Lunch              In     1.14
    Redacted      zFDWNC zAdmin 216.136.72.10 7/12/2018 1:19 PM            7/12/2018 5:43 PM   .In the Office     In     4.40
    Redacted      zFDWNC zAdmin 216 136 72 10 7/12/2018 5 43 PM            7/13/2018 8 13 AM    Out for the Day   Out   14 49
    Redacted      zFDWNC zAdmin 216.136.72.10 7/13/2018 8:13 AM            7/13/2018 8:54 AM   .In the Office     In     0.69
    Redacted      zFDWNC zAdmin 216.136.72.10 7/13/2018 8:54 AM            7/13/2018 10:14 AM Court               In     1.34
    Redacted      zFDWNC zAdmin 216.136.72.10 7/13/2018 10:14 AM 7/13/2018 12:15 PM .In the Office                In     2.02
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3/6/2019                                                                 Time History Report
    Redacted      zFDWNC zAdmin 216.136.72.10 7/13/2018 12:15 PM 7/13/2018 12:26 PM Lunch                         In      0.17
    Redacted      zFDWNC zAdmin 216.136.72.10 7/13/2018 12:26 PM 7/13/2018 3:35 PM             .In the Office     In      3.16
    Redacted      Kathy Phillips     216.136.72.10 7/13/2018 3:35 PM       7/16/2018 7:28 AM   Flex               In     63.89
    Redacted      zFDWNC zAdmin 206.16.244.12 7/16/2018 7:28 AM            7/16/2018 8:01 AM   .Out for the Day   Out     0.53
    Redacted      zFDWNC zAdmin 216.136.72.10 7/16/2018 8:01 AM            7/16/2018 1:46 PM   .In the Office     In      5.76
    Redacted      zFDWNC zAdmin 216.136.72.10 7/16/2018 1:46 PM            7/16/2018 2:06 PM   Lunch              In      0.32
    Redacted      zFDWNC zAdmin 216.136.72.10 7/16/2018 2:06 PM            7/16/2018 5:43 PM   .In the Office     In      3.62
    Redacted      zFDWNC zAdmin 216.136.72.10 7/16/2018 5:43 PM            7/17/2018 8:07 AM   .Out for the Day   Out    14.40
    Redacted      zFDWNC zAdmin 216.136.72.10 7/17/2018 8:07 AM            7/17/2018 11:37 AM .In the Office      In      3.50
    Redacted      zFDWNC zAdmin 216.136.72.10 7/17/2018 11:37 AM 7/17/2018 2:29 PM             Lunch              In      2.87
    Redacted      zFDWNC zAdmin 216.136.72.10 7/17/2018 2:29 PM            7/17/2018 5:28 PM   .In the Office     In      2.99
    Redacted      zFDWNC zAdmin 216.136.72.10 7/17/2018 5:28 PM            7/18/2018 8:11 AM   .Out for the Day   Out    14.70
    Redacted      System Account     216.136.72.10 7/18/2018 8:11 AM       7/18/2018 10:00 PM .In the Office      In     13.83
    Redacted      zFDWNC zAdmin                      7/18/2018 10:00 PM 7/19/2018 8:15 AM      .Out for the Day   Out    10.25
    Redacted      System Account     216.136.72.6    7/19/2018 8:15 AM     7/19/2018 10:00 PM .In the Office      In     13.74
    Redacted      zFDWNC zAdmin                      7/19/2018 10:00 PM 7/20/2018 8:05 AM      .Out for the Day   Out    10.09
    Redacted      zFDWNC zAdmin 216.136.72.6         7/20/2018 8:05 AM     7/20/2018 8:07 AM   .In the Office     In      0.03
    Redacted      zFDWNC zAdmin 216.136.72.6         7/20/2018 8:07 AM     7/20/2018 8:24 AM   15 min Break       In      0.28
    Redacted      zFDWNC zAdmin 216.136.72.6         7/20/2018 8:24 AM     7/20/2018 4:11 PM   .In the Office     In      7.78
    Redacted      Lisa Ottens        216.136.72.6    7/20/2018 4:11 PM     7/25/2018 8:18 AM   Flex               In    112.12
    Redacted      Amanda Buckner 206.16.244.12 7/25/2018 8:18 AM           7/30/2018 11:29 AM Sick Leave          PTO   123.18
    Redacted      zFDWNC zAdmin 206.16.244.12 7/30/2018 11:29 AM 8/2/2018 8:33 AM              Annual Leave       PTO    69.06
    Redacted      zFDWNC zAdmin 216.136.72.6         8/2/2018 8:33 AM      8/2/2018 9:07 AM    .In the Office     In      0.57
    Redacted      zFDWNC zAdmin 216.136.72.6         8/2/2018 9:07 AM      8/2/2018 11:40 AM   Court              In      2.55
    Redacted      zFDWNC zAdmin 216.136.72.6         8/2/2018 11:40 AM     8/2/2018 4:58 PM    .In the Office     In      5.30
    Redacted      zFDWNC zAdmin 216.136.72.6         8/2/2018 4:58 PM      8/3/2018 12:48 PM   .Out for the Day   Out    19.83
    Redacted      zFDWNC zAdmin 216.136.72.6         8/3/2018 12:48 PM     8/3/2018 1:27 PM    Lunch              In      0.65
    Redacted      zFDWNC zAdmin 216.136.72.6         8/3/2018 1:27 PM      8/3/2018 2:03 PM    .In the Office     In      0.60
    Redacted      zFDWNC zAdmin 216.136.72.6         8/3/2018 2:03 PM      8/3/2018 2:56 PM    Court              In      0.88
    Redacted      zFDWNC zAdmin 216.136.72.6         8/3/2018 2:56 PM      8/3/2018 4:59 PM    .In the Office     In      2.06
    Redacted      zFDWNC zAdmin 216.136.72.6         8/3/2018 4:59 PM      8/6/2018 8:11 AM    .Out for the Day   Out    63.20
    Redacted      zFDWNC zAdmin 216.136.72.6         8/6/2018 8:11 AM      8/6/2018 5:08 PM    .In the Office     In      8.95
    Redacted      zFDWNC zAdmin 216.136.72.6         8/6/2018 5:08 PM      8/7/2018 8:06 AM    .Out for the Day   Out    14.98
    Redacted      zFDWNC zAdmin 216.136.72.6         8/7/2018 8:06 AM      8/7/2018 8:54 AM    .In the Office     In      0.80
    Redacted      zFDWNC zAdmin 216.136.72.6         8/7/2018 8:54 AM      8/7/2018 9:33 AM    15 min Break       In      0.64
    Redacted      zFDWNC zAdmin 216.136.72.6         8/7/2018 9:33 AM      8/7/2018 12:03 PM   .In the Office     In      2.50
    Redacted      zFDWNC zAdmin 216.136.72.6         8/7/2018 12:03 PM     8/7/2018 12:24 PM   Lunch              In      0.36
    Redacted      zFDWNC zAdmin 216.136.72.6         8/7/2018 12:24 PM     8/7/2018 4:56 PM    .In the Office     In      4.52
    Redacted      zFDWNC zAdmin 216.136.72.6         8/7/2018 4:56 PM      8/8/2018 8:10 AM    .Out for the Day   Out    15.24
    Redacted      zFDWNC zAdmin 216.136.72.6         8/8/2018 8:10 AM      8/8/2018 10:43 AM   .In the Office     In      2.55
    Redacted      zFDWNC zAdmin 216.136.72.6         8/8/2018 10:43 AM     8/8/2018 11:02 AM   15 min Break       In      0.31
    Redacted      System Account     216.136.72.6    8/8/2018 11:02 AM     8/8/2018 10:00 PM   .In the Office     In     10.96
    Redacted      zFDWNC zAdmin                      8/8/2018 10:00 PM     8/9/2018 8:08 AM    .Out for the Day   Out    10.15
    Redacted      zFDWNC zAdmin 216.136.72.6         8/9/2018 8:08 AM      8/9/2018 12:24 PM   .In the Office     In      4.27
    Redacted      zFDWNC zAdmin 216.136.72.6         8/9/2018 12:24 PM     8/9/2018 12:43 PM   Lunch              In      0.30
    Redacted      zFDWNC zAdmin 216.136.72.6         8/9/2018 12:43 PM     8/9/2018 4:01 PM    .In the Office     In      3.30

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                                                                                   51
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   Total Hours IN     1,035.97
   Total Hours OUT      844.54
   Total Hours PTO      192.25




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From: Taylor.goodnight_fialko-law.com <Taylor.goodnight@fialko-law.com>
Sent: Monday, November 26, 2018 11:21 AM
To: Ann Hester <Ann Hester@fd.org>
Subject: RE: Briefs

Ann,

Here are the briefs. Please excuse my typos. J. I’ll send to Cheyenne and the Robinson Bradshaw
attorneys.

Thank you!

Taylor

_______________________________
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Attorney
Fialko Law PLLC
227 West 4th Street, Suite 229
Charlotte, NC 28202
(704) 879-3147

taylor.goodnight@fialko-law.com

From: Ann Hester <Ann_Hester@fd.org>
Sent: Monday, November 26, 2018 9:41 AM
To: Taylor Goodnight <taylor.goodnight@fialko-law.com>
Subject: Briefs

Taylor, can you send me the briefs in your case so I can circulate to the moot judges? Thanks.

___________________________________________________________________
Ann L. Hester
Assistant Federal Public Defender
Appellate Division
Federal Public Defender
Western District of North Carolina
129 West Trade Street Suite 300
Charlotte, NC 28202
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